                                                                                         Filed: 9/29/2021 10:41 AM
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                                                                                              Lake




STATE OF INDIANA              )      IN THE LAKE SUPERIOR COURT
                              )      SS:
COUNTY OF LAKE                )      SITTING IN CROWN POINT, INDIANA

                                             )
SANDRA L. HAMILTON,                          )
                                             )
       Plaintiff,                            )
                                             )
       vs.                                   )      CASE NO.:
                                             )
C T CORPORATION, d/b/a/                      )
AMERISTAR CASINO EAST                        )
CHICAGO LLC,                                 )
                                             )
       Defendant.                            )

                                         COMPLAINT

       NOW COMES the Plaintiff, SANDRA L. HAMILTON, by and through her attorneys, The

Law Offices of McCready, Garcia & Leet, P.C., and in her Complaint against the Defendant, C T

Corporation System d/b/a Ameristar Casino East Chicago LLC, states as follows:

       1.      At all times pertinent, SANDRA L. HAMILTON, (“Plaintiff”) was a resident of

Dolton, Cook County, Illinois and at all times pertinent, C T Corporation System d/b/a Ameristar

Casino East Chicago LLC, (“Defendant”) was doing business in East Chicago, Lake County,

Indiana.

       2.      On or about September 27, 2019, Plaintiff, was lawfully on the premises of

Defendant located in East Chicago, Lake County, Indiana.

       3.      The Plaintiff was a guest at the Ameristar Casino hotel when she slipped on a

slippery substance on the floor of Defendant’s Casino.

       4.      At all times pertinent, Plaintiff was exercising reasonable care for her safety and

was free from contributory negligence.

       5.      At all times pertinent, the Defendant, through its agents and/or employees, owed a


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                                                                                     EXHIBIT A
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duty of reasonable care to the Plaintiff

        6.      Defendant breached this duty and was negligent in one or more of the following

ways:

        a.      Failed to provide a good, safe, and proper place for the Plaintiff to be, use, occupy,
                and walk while on the subject premises;
        b.      Allowed and permitted the subject premises to become and remain in a dangerous
                condition;
        c.      Failed to inspect subject premises to be certain that they were in good, safe, and
                proper condition;
        d.      Failed to maintain the premises in a reasonably safe condition by maintaining a dry
                floor;
        e.      Failed to properly warn customer, including the Plaintiff, of a wet floor;
        f.      Was otherwise careless and/or negligent.

        7.      As a result of the negligence of Defendant, Plaintiff suffered injuries of a personal

and pecuniary nature.

        WHEREFORE, Plaintiff, SANDRA L. HAMILTON, prays for damages as she shall prove

at trial plus costs and any other relief the Court deems just or equitable.

                                                               Sandra L. Hamilton,

                                                               __________________________
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                                           JURY DEMAND


        Plaintiff, SANDRA L. HAMILTON, by and through counsel, hereby requests a trial by

jury on all issues so triable.

                                                               SANDRA L. HAMILTON,


                                                               __________________________


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